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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

CASE NO.     22-cr-00189-RMR

UNITED STATES OF AMERICA,

             Plaintiff,

v.

ROBERTO KANO-CASTILLO,

             Defendant.

______________________________________________________________________

                        NOTICE OF APPEARANCE
______________________________________________________________________

      The Office of the Federal Public Defender, by and through undersigned counsel,

hereby enters its appearance in the above captioned case.

                                       Respectfully submitted,

                                       VIRGINIA GRADY
                                       Federal Public Defender



                                       s/ Kilie Latendresse
                                       Kilie Latendresse
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                              CERTIFICATE OF SERVICE


        I hereby certify that on June 15, 2022, I electronically filed the foregoing NOTICE
OF APPEARANCE with the Clerk of Court using the CM/ECF system, which will send
notification of such filing to the following e-mail addresses:

      Albert C. Buchman, Assistant United States Attorney
      al.buchman@usdoj.gov

and I hereby certify that I have mailed or served the document or paper to the following
non CM/ECF participant in the manner (mail, hand-delivery, etc.) indicated by the non-
participant’s name:

      Roberto Kano-Castillo       (via U.S. Mail)



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